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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


DEBORAH MULLINS,                                  §
                                                  §
                   Plaintiff,                     §                SA-21-CV-00329-JKP
                                                  §
vs.                                               §
                                                  §
DPAC ACCEPTANCE, LTD.,                            §
                                                  §
                   Defendant.                     §

        ORDER SETTING TELEPHONIC INITIAL PRETRIAL CONFERENCE

       Before the Court is the above-styled and numbered cause of action, which was referred to

the undersigned on April 6, 2021 for all non-dispositive pretrial proceedings [#3]. The record

reflects that Defendant filed its Answer on May 14, 2021. The Court will therefore set this case

for its standard initial pretrial conference and direct the parties to confer in accordance with Rule

26. At the conference, the Court will enter a Scheduling Order in this case.

       IT IS THEREFORE ORDERED that, pursuant to Rule 16 of the Federal Rules of Civil

Procedure, this case is set for a Telephonic Initial Pretrial Conference at 10:00 a.m. on

August 19, 2021. All parties are required to appear by phone for the conference. The contact

information for the conference is as follows:

       **Please call in 5 minutes prior to start of hearing.**

       1. Toll free number: 888-808-6929

       2. Access code: 9923187

       3. Participant Security Code: 081921

If there are questions regarding the telephonic appearance, the parties should contact Valeria

Sandoval, Courtroom Deputy, at txwdml_chambers_sa_judgechestney@txwd.uscourts.gov.



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       The use of speaker phones is prohibited during a telephonic appearance. Additionally,

because earlier hearings in other cases may be in progress at the time attorneys call in for their

scheduled hearing, attorneys should call in with their phones on “mute” and wait for the

Courtroom Deputy to address them before they speak.

       IT IS FURTHER ORDERED that the parties confer in the manner required by Rule

26(f) of the Federal Rules of Civil Procedure and submit a Joint Discovery/Case Management

Plan that answers the following questions no later than August 17, 2021:

   1. Are there any outstanding jurisdictional issues? For removed cases based on diversity
      jurisdiction, do the parties agree that the amount in controversy exceeded $75,000 at the
      time of removal? If not, each party should state its position on the amount in controversy.
   2. Are there any unserved parties? If more than 90 days have passed since the filing of the
      Complaint or petition, should these unserved parties be dismissed?
   3. What are the causes of action, defenses, and counterclaims in this case? What are the
      elements of the cause(s) of action, defenses, and counterclaims pled?
   4. Are there any agreements or stipulations that can be made about any facts in this case or
      any element in the cause(s) of action?
   5. State the parties’ views and proposals on all items identified in Fed. R. Civ. P. 26(f)(3).
   6. What, if any, discovery has been completed? What discovery remains to be done? Have
      the parties considered conducting discovery in phases?
   7. What, if any, discovery disputes exist?
   8. Have the parties discussed the desirability of filing a proposed order pursuant to Federal
      Rule of Evidence 502?
   9. Have the parties discussed mediation?

   The Court will address the substance of the parties’ joint report and discovery plan at the

Initial Pretrial Conference.

       IT IS FURTHER ORDERED that the parties submit a proposed scheduling order

pursuant to Local Rule CV-16(c), no later than August 17, 2021. The Court will discuss with

the parties any proposed changes to the Court’s standard scheduling order based on the unique

circumstances of this case at the Initial Pretrial Conference.

       The proposed scheduling order shall contain suggestions for the following deadlines:




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1. Parties shall make initial disclosures pursuant to Federal Rule of Civil Procedure 26(a)(1). To
   the extent a defendant knows the identity of a responsible third party contemplated by Texas
   Civil Practices & Remedies Code § 33.004, such identity is subject to disclosure under Rule
   26(a)(1)(A)(i).

2. The parties shall file a report on alternative dispute resolution in compliance with Local Rule
   CV-88(b) on or before [30 days after entry of the Scheduling Order].

3. Parties asserting claims for relief shall submit a written offer of settlement to opposing
   parties on or before [60 days after entry of the Scheduling Order], and each opposing party
   shall respond, in writing on or before [14 days after receipt of the offer of settlement]. All
   offers of settlement are to be private, not filed. The parties shall retain the written offers of
   settlement and response, as the Court will use these in assessing attorneys’ fees and costs at
   the conclusion of the proceedings. At any time, if any parties reach a settlement, they should
   immediately notify the Court by filing a joint advisory. The joint advisory shall state the
   parties who reached the settlement and whether a settlement conference is required or
   desired. If a hearing is requested, the parties shall confer and provide mutually agreeable
   potential dates for the hearing.

4. On or before [60 days after entry of the Scheduling Order], the parties shall file any motion
   seeking leave to amend pleadings or join parties. To the extent it may apply in this case, the
   deadline for Defendant(s) to file a motion to designate responsible third parties, pursuant to
   Texas Civil Practices & Remedies Code § 33.004(a), is [60 days after entry of the Scheduling
   Order].

5. Parties asserting claims for relief shall file their designation of testifying experts and serve on
   all parties, but not file, the materials required by Federal Rule of Civil Procedure 26(a)(2)(B),
   on or before [90 days after entry of the Scheduling Order].

6. Parties resisting claims for relief shall file their designation of testifying experts and serve on
   all parties, but not file, the materials required by Federal Rule of Civil Procedure 26(a)(2)(B),
   on or before [120 days after entry of the Scheduling Order].

7. Parties shall file all designations of rebuttal experts and serve on all parties the material
   required by Federal Rule of Civil Procedure 26(a)(2)(B) for such rebuttal experts, to the
   extent not already served, within fourteen days of receipt of the report of the opposing expert.

8. The deadline to file supplemental expert reports required under Federal Rule of Civil
   Procedure 26(e)(2) is at least 30 days before trial. The parties are advised any report filed
   under this deadline may only supplement the initial report and may not introduce new
   opinion or subject matter. This deadline is not intended to provide an extension of the
   deadline by which a party must deliver the substance of its expert information or opinion.


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9. Parties shall initiate all discovery procedures in time to complete discovery on or before [180
   days after entry of the Scheduling Order]. Written discovery requests are not timely if they
   are filed so close to this deadline that under the Federal Rules of Civil Procedure the response
   would not be due until after the expiration of the deadline. See Local Rule CV-16(d).
   Counsel may by agreement continue discovery beyond the deadline. The parties are advised
   that should they agree to extend discovery beyond the deadline, there will be no intervention
   by the Court except in exceptional circumstances. No trial setting or other deadline set forth
   herein will be vacated due to information obtained in post-deadline discovery. See Local
   Rule CV-7(d).

10. Counsel shall confer and file a joint report setting forth the status of settlement negotiations
    on or before [15 days after the discovery deadline].

11. On or before [15 days after the discovery deadline], the parties shall file any Daubert
    motions and challenge to or motion to exclude expert witnesses. Any such motion must
    specifically state the basis for the objection and identify the objectionable testimony.

12. On or before [45 days after the discovery deadline], parties shall file any dispositive motions,
    including motions for summary judgment on all or some of the claims. Further,
    notwithstanding any deadline provided herein, no motion (other than a motion in limine) may
    be filed after this date except for good cause.

13. The Court will set dates for trial and the final pretrial conference after ruling on any
    dispositive motions or after the deadline for such motions passes without a pertinent filing.
    At that time, the Court will also set appropriate deadlines for trial and pretrial conference
    matters.

       The parties shall submit the proposed order in a form similar to the attached.

       IT IS SO ORDERED.

       SIGNED this 19th day of May, 2021.




                                      ELIZABETH S. ("BETSY") CHESTNEY
                                      UNITED STATES MAGISTRATE JUDGE




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

                                                 §
                                                 §
                  Plaintiff,                     §
                                                 §
vs.                                              §
                                                 §
                                                 §
                                                 §
                  Defendant.                     §
                                                 §


                           SCHEDULING RECOMMENDATIONS

       The parties recommend that the following deadlines be entered in the scheduling order to
control the course of this case. In accordance with Federal Rule of Civil Procedure 6(a), if a
deadline set in this order falls on a weekend or a holiday, the effective day will be the next
business day.

1. Parties shall make initial disclosures pursuant to Federal Rule of Civil Procedure 26(a)(1). To
   the extent a defendant knows the identity of a responsible third party contemplated by Texas
   Civil Practices & Remedies Code § 33.004, such identity is subject to disclosure under Rule
   26(a)(1)(A)(i).

2. The parties shall file a report on alternative dispute resolution in compliance with Local Rule
   CV-88(b) on or before _______________.

3. Parties asserting claims for relief shall submit a written offer of settlement to opposing
   parties on or before ____________________, and each opposing party shall respond, in
   writing on or before ______________. All offers of settlement are to be private, not filed.
   The parties shall retain the written offers of settlement and response, as the Court will use
   these in assessing attorneys’ fees and costs at the conclusion of the proceedings. At any time,
   if any parties reach a settlement, they should immediately notify the Court by filing a joint
   advisory. The joint advisory shall state the parties who reached the settlement and whether a
   settlement conference is required or desired. If a hearing is requested, the parties shall confer
   and provide mutually agreeable potential dates for the hearing.

4. On or before __________________, the parties shall file any motion seeking leave to amend
   pleadings or join parties. To the extent it may apply in this case, the deadline for
   Defendant(s) to file a motion to designate responsible third parties, pursuant to Texas Civil
   Practices & Remedies Code § 33.004(a), is _______________.


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5. Parties asserting claims for relief shall file their designation of testifying experts and serve on
   all parties, but not file, the materials required by Federal Rule of Civil Procedure 26(a)(2)(B),
   on or before _____________.

6. Parties resisting claims for relief shall file their designation of testifying experts and serve on
   all parties, but not file, the materials required by Federal Rule of Civil Procedure 26(a)(2)(B),
   on or before ________________.

7. Parties shall file all designations of rebuttal experts and serve on all parties the material
   required by Federal Rule of Civil Procedure 26(a)(2)(B) for such rebuttal experts, to the
   extent not already served, within fourteen days of receipt of the report of the opposing expert.

8. The deadline to file supplemental expert reports required under Federal Rule of Civil
   Procedure 26(e)(2) is at least 30 days before trial. The parties are advised any report filed
   under this deadline may only supplement the initial report and may not introduce new
   opinion or subject matter. This deadline is not intended to provide an extension of the
   deadline by which a party must deliver the substance of its expert information or opinion.

9. Parties shall initiate all discovery procedures in time to complete discovery on or before
   _______________. Written discovery requests are not timely if they are filed so close to this
   deadline that under the Federal Rules of Civil Procedure the response would not be due until
   after the expiration of the deadline. See Local Rule CV-16(d). Counsel may by agreement
   continue discovery beyond the deadline. The parties are advised that should they agree to
   extend discovery beyond the deadline, there will be no intervention by the Court except in
   exceptional circumstances. No trial setting or other deadline set forth herein will be vacated
   due to information obtained in post-deadline discovery. See Local Rule CV-7(d).

10. Counsel shall confer and file a joint report setting forth the status of settlement negotiations
    on or before ________________.

11. On or before _______________, the parties shall file any Daubert motions and challenge to
    or motion to exclude expert witnesses. Any such motion must specifically state the basis for
    the objection and identify the objectionable testimony.

12. On or before _________________, parties shall file any dispositive motions, including
    motions for summary judgment on all or some of the claims. Further, notwithstanding any
    deadline provided herein, no motion (other than a motion in limine) may be filed after this
    date except for good cause.

13. The Court will set dates for trial and the final pretrial conference after ruling on any
    dispositive motions or after the deadline for such motions passes without a pertinent filing.
    At that time, the Court will also set appropriate deadlines for trial and pretrial conference
    matters.


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                                        ___________________________
                                        (Signature)


                                        ___________________________
                                        (Print or type name)


                                        ATTORNEY FOR

                                        ____________________________
                                        (Print or type name)




                   CERTIFICATE OF SERVICE




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